                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA
                                 DAVENPORT DIVISION


RAYA NSHEIWAT,
                                                                NO. 3:20-cv-00064-RP-HCA
      Plaintiff,

vs.
                                                        PROPOSED SCHEDULING ORDER AND
WALMART, INC.,                                                 DISCOVERY PLAN

      Defendant.



         Defendant Walmart, Inc. submits the following Proposed Scheduling Order and Discovery Plan:
 1.      Did the parties both (a) enter into an agreement at the Rule 26(f) conference resolving all
         issues relating to initial disclosures, and (b) discuss the preservation, disclosure, and discovery
         of electronically stored information?      x yes _____ no
         If any party objected at the Rule 26(f) conference to making or to the timing of the initial
         disclosures, then the objecting party must, within 10 days after this order and plan has
         been filed, serve and file a document in which the objections are set forth with
         particularity. If the parties have agreed to a deadline for making the initial disclosures, state
         the date by which the initial disclosures will be made: 10/23/2020
 2.      Deadline for motions to add parties:                 11/27/2020
 3.      Deadline for motions to amend pleadings:             11/27/2020
 4.      Expert witnesses disclosed by: a) Plaintiff:         01/29/2021
                                             b) Defendant: 03/26/2021
                                             c) Plaintiff Rebuttal: 05/28/2021
 5.      Deadline for completion of discovery:                08/27/2021
 6.      Dispositive motions deadline (at least 150 days before Trial Ready Date):          09/30/2021
 7.      Trial Ready Date (at least 150 days after Dispositive Motions Date): 02/28/2022
 8.      Has a jury demand been filed?          X    yes      _______ no
 9.      Estimated length of trial:            3      days
10.      Settlement conference (choose one of the following): (a) ______ A court-sponsored settlement
         conference should be set by the court at this time for a date after:
         ________________________; or
         (b) X      A court-sponsored settlement conference is not necessary at this time.
11.      Should the court order a court-sponsored scheduling and planning conference pursuant to Fed.
         R. Civ. P. 16(b) and 26(f)?         ____ yes            X no
12.      Do the parties unanimously consent to trial, disposition and judgment by a U.S. Magistrate
         Judge, with appeal to the Eighth Circuit Court of Appeals pursuant to 28 U.S.C. § 636(c)(3)?
                                             ___ __yes            X    no




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                                  JUDGE'S REVISIONS

The deadline in Paragraph __________ is changed to ______________________.
The deadline in Paragraph __________ is changed to ______________________.
The deadline in Paragraph __________ is changed to ______________________.

IT IS ORDERED that this proposed Scheduling Order and Discovery Plan
       _____ is _____ is not approved and adopted by this court.
IT IS FURTHER ORDERED that a scheduling and planning conference:
      ___    will not be scheduled at this time.
      ___    will be held in the chambers of Judge ____________________ at the
             U.S. Courthouse in _________________________, Iowa, on the
             ______ day of ____________________, at _______ o’clock, ___.m.
      ___    will be held by telephone conference, initiated by the court, on the
             ______ day of ______________________, at _______ o’clock, ___.m.

DATED this _______ day of ________________________________.

                                             __________________________________________
                                                  MAGISTRATE JUDGE
                                                  UNITED STATES DISTRICT COURT




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